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        COUNSEL FOR SENTINEL REINSURANCE, LTD.

                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

        IN RE:                                                    §       CHAPTER 11
                                                                  §
        HIGHLAND CAPITAL MANAGEMENT, LP                           §       CASE NO: 18-33967-BJH-11
                                                                  §
                          DEBTOR.                                 §       (Joint Administration)

        UBS SECURITIES LLC AND UBS LONDON  §
        BRANCH AG, Plaintiff,              §
                                           §
        v.                                 §                              ADV. PROC. NO. 21-03020
                                           §
        HIGHLAND CAPITAL MANAGEMENT, L.P., §
        Defendant.                         §


             FOREIGN NON-PARTY SENTINEL REINSURANCE, LTD.’S OPPOSITION TO
                     PLAINTIFFS’ MOTION FOR AN EXPEDITED HEARING

                   Sentinel Reinsurance, Ltd. (“Sentinel”)1 hereby files this Opposition (“Opposition”) to

        Plaintiffs UBS Securities LLC and UBS London Branch AG (together “UBS”) Motion for an

        Expedited Hearing (the “Expedited Hearing Motion”) on Sentinel’s Motion for a Protective Order,

        and in support of its Opposition, Sentinel respectfully states as follows:




        1
         Any terms not otherwise defined herein shall having the meaning ascribed to them in Sentinel’s Motion for a
        Protective Order [D.I. 106] (“Motion for Protective Order”). Sentinel hereby incorporates by reference the
        background information and arguments contained in its Motion for Protective Order.
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                   1.     Sentinel filed its Motion for Protective Order on September 2, 2021, on notice to

        and after significant discussions with UBS (and Beecher) regarding same, and numerous attempts

        to resolve any discovery dispute. Now, eight days later, UBS files its Expedited Hearing Motion

        seeking an expedited hearing on the Motion for Protective Order, and asserting that an upcoming

        trial in this adversary proceeding – which Sentinel, a non-party, knew nothing about - necessitates

        immediate document production. Shockingly, the very first time Sentinel, a foreign non-party to

        this adversary proceeding, was made aware of such a pending trial date was in reading the

        Expedited Hearing Motion - UBS never mentioned same to U.S. or Cayman counsel for Sentinel

        in all discussions and communication over the past several months and never offered same as an

        explanation as to why it was seeking production on an expedited basis. Sentinel was completely

        unaware that October 18, 2021 was a relevant date to UBS until it read the Motion.2

                   2.     Further, in both the Motion and the opposition papers filed in response to the

        Motion for Protective Order, UBS advises the Court that it intends to “seek an extension of the

        remaining deadlines in the Adversary Proceeding, including the week of trial,” so it appears that

        this is not an emergency after all. See Mot., n. 4; Response [ECF 108], n. 8.

                   3.     Sentinel filed its Motion for Protective Order to protect from production

        confidential and privileged documents and information held by its manager, Beecher, as well as to



        2
          Sentinel, a foreign non-party to this adversary proceeding, has not received notice of dates, motions (other than the
        Expedited Hearing Motion), or other pending issues in the adversary proceeding or main bankruptcy case. Further,
        the adversary complaint and request for TRO that UBS insinuates Sentinel should have known about were both filed
        under seal and the TRO order was never served on Sentinel, so Sentinel had no information regarding the allegations
        therein and status of the adversary proceeding.

        Further, in scheduling a hearing on the Motion for Protective Order, the court clerk reached out to Sentinel’s counsel
        offering to assist with finding an acceptable hearing date for the parties. When Sentinel reached out to UBS regarding
        the hearing date, UBS advised that the hearing date proposed would not work and that it would move to expedite
        based on the dates offered by the Court. It is absurd and unfounded to suggest that Sentinel’s counsel engaged in
        improper ex parte communications with the Court when the court clerk reached out to counsel for acceptable hearing
        dates and these communications were clearly administrative in nature.
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        request additional time for Beecher’s compliance with a Subpoena issued by UBS seeking, among

        other things, documents held by Beecher in its capacity as Sentinel’s Manager. Beecher had

        informed Sentinel that it intended to begin producing the documents to UBS on September 2, 2021,

        absent Sentinel seeking a protective order as set forth in the Confidentiality Provision of the

        Management Agreement by and between the Manager and Sentinel.

                   4.     By its Motion, UBS implies that Sentinel--which has still not been properly served

        with a subpoena, disputes jurisdiction, and filed a limited appearance to preserve these issues-- is

        not being cooperative. To the contrary (and as explained in the Motion for Protective Order),

        Sentinel’s      new independent directors are currently reviewing the documents in Beecher’s

        possession and, once the review is complete (which includes a review for privileged and

        confidential documents, in addition to relevance), Sentinel intends to have Beecher produce

        documents to UBS that UBS is legally entitled to obtain under the Subpoena, i.e., all relevant, non-

        privileged, non-confidential documents. The directors are complying with their fiduciary duties

        under the laws of the Cayman Islands by conducting a thorough review of the documents.

                   5.     A review of a subset of the documents to date revealed the potential production

        included non-relevant documents as well as documents that contain highly confidential personal

        information which, if disclosed, would fall foul of the Data Protection Act in the Cayman Islands

        and the overarching statutory requirement to preserve confidential information under the laws of

        the Cayman Islands.3 Accordingly, such documents must be either redacted prior to or withheld

        from production.




        3
          For example, the document reviewers have found multi-hundred page documents which contain personal
        information of beneficial owners. Such information is deemed confidential and cannot be produced under the laws
        of the Cayman Islands.
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                   6.   Sentinel expects to complete its review by the beginning of November 2021 and

        produce the documents UBS is legally entitled to, without contesting the above (but reserving its

        rights). As set forth in the Motion for Protective Order, such an extension in no way prejudices

        UBS, particularly when UBS intends to seek extension of the pending trial and related deadlines,

        and, under Fed. R. Civ. Pro. Rule 45, protects Beecher from the undue burden of having to review

        the documents—which contain Sentinel’s business information—and determine which documents

        are responsive, privileged or confidential.

                   7.   UBS presents no case for “cause” to expedite the hearing on Sentinel’s Motion for

        a Protective Order under FRBP 9006(c). UBS seeks an expedited hearing under Fed. R. Bankr. P.

        9006 “for cause” but their own pleading demonstrates that no cause exists. In order to determine

        whether such cause exists, courts look to a number of factors, including (1) whether the pleadings

        indicate that an emergency exists, and that the emergency is not of the movant’s own making; (2)

        there must be a separate motion to expedite; (3) the motion should address the prejudice to other

        parties; and (4) motions to expedite should be used sparingly. In re Villareal, 160 B.R. 786, 787-

        88 (Bankr. W.D. Tex. 1993).

                   8.   Here, UBS’s own pleadings undercut the request for an expedited hearing, given

        that it will seek an extension of upcoming trial dates. Further, this “emergency” is of UBS’s own

        making—the Subpoena to Beecher has been outstanding for months and UBS is only now seeking

        to enforce it even though it knew of the upcoming trial date.

                   9.   UBS argues that Sentinel’s proposed production date of November 1, 2021 is “two

        weeks after the trial date” (emphasis in original) which is “highly prejudicial to UBS”. Motion

        ¶8. However, in the footnote referenced in that same paragraph, UBS states that it “expects it will

        need to seek an extension of the remaining deadlines in the Adversary Proceeding, including the

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        week of trial.” Id., fn. 4. Therefore, the existing dates in the adversary proceeding are irrelevant to

        the determination of cause under Rule 9006, and expediting the hearing is unnecessary. There is

        no prejudice to UBS when, by its own admission, it does not have the discovery it requires to go

        to trial on the current schedule due to ongoing discovery disputes with a number of parties other

        than Sentinel and Beecher. This failure to obtain the discovery in time for its own trial is an

        emergency of UBS’s own making.

                   10.   Further, it bears repeating that Sentinel fully intends to produce all documents UBS

        is legally entitled to, i.e. responsive and non-privileged documents with a privilege log, within a

        reasonable period of time following service of the Subpoena--responsive conduct that is

        completely in compliance with Rule 45. Sentinel simply needs more time to review the tens of

        thousands of potentially responsive documents – a regular task occurring in the ordinary course of

        conduct in discovery when responding to a subpoena. If UBS needed the requested documents

        prior to the current trial setting, then UBS should have served the Subpoena (or taken steps to

        properly serve the subpoena on Sentinel) with sufficient lead time in advance of the trial setting.

        Sentinel should not bear the burden of UBS’s mismanaged pretrial timeline. Under Rule 45,

        Sentinel is entitled to an appropriate, reasonable amount of time to review the responsive

        documents prior to production.

                   11.   In addition, despite numerous communications over several months between UBS’s

        counsel and Sentinel’s counsel - both in the United States and the Cayman Islands – UBS’s counsel

        never disclosed the existence of the trial or the schedule for same.4 Sentinel is not a party to the



        4
          Based on a review of the Amended Stipulation and Scheduling Order [D.I. 103], fact discovery closed on August 6,
        2021, and dispositive motions were due by September 3, 2021. It is unclear to Sentinel why UBS didn’t disclose this
        timeline to Sentinel in its numerous discussions regarding service and document production – again, issues which
        Sentinel is not aware of since it is not a party to same, and since the complaint and motion for TRO were filed under
        seal and copies of same have not been provided to Sentinel.
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        action, and cannot be expected to be aware of deadlines in a case that they have not been involved

        in. If there were an emergency, it would be one of UBS’s own making, also making relief under

        Rule 9006 improper. Villareal, 160 B.R. at 787.

                   12.    Sentinel’s independent directors are not parties to any fraud by Highland or its

        former directors. Further, by the Motion, UBS flagrantly suggests that there is a continuing fraud

        to which Sentinel is a party, due to its failure to produce documents on UBS’s expedited (without

        explanation) timeline and without proper service to Sentinel.5 Nothing could be further from the

        truth. Sentinel is now controlled by independent directors who are not affiliated with or taking

        direction from Mr. Dondero, Mr. Ellington or any of Sentinel’s former directors (as alleged by

        UBS) – in fact, the independent directors have never communicated with Mr. Dondero or Mr.

        Ellington or their former counsel. The “roadblocks” (Mot. ¶ 5) seemingly plaguing UBS have

        nothing to do with Sentinel and to lump them together without facts or evidence is specious, at

        best, and self-serving.

                   13.    The relief requested by Sentinel is reasonable and does not require an expedited

        hearing. By its Motion for Protective Order, Sentinel has proposed a simple and efficient solution

        to the unnecessary discovery dispute created by UBS: allow Sentinel a reasonable time to review

        the documents to determine which documents are responsive to the Subpoena, and which are

        privileged or confidential, and then provide those documents and a privilege log to Beecher for

        further production to UBS. Sentinel has also agreed to complete its review process on or before

        November 1, 2021, which is a reasonable timeline given the volume of production in question


        5
          As discussed in the Motion for Protective Order, as a Cayman non-party, UBS was required to serve Sentinel through
        the Hague Evidence Convention. Sentinel’s Cayman counsel advised counsel to UBS that service was not proper or
        effective as early as July 9, 2021. If obtaining the documents on an emergency basis was really necessary, UBS has
        taken no steps to properly serve Sentinel or otherwise enforce its subpoenas issued to Sentinel. Instead it has focused
        its efforts on attempting to compel compliance from Beecher as Manager in an end-run around seeking Sentinel’s
        documents directly from Sentinel to avoid compliance with the Hague Evidence Convention.
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        (approx. 61,000 documents) and that the independent directors were appointed in May and June

        of this year and are still analyzing the various issues raised by UBS in its extensive litigation with

        the Debtor and its affiliates.

                   14.   Further, this timeline will not prejudice UBS since (i) any “emergency” that exists

        if of UBS’s own making, (ii) UBS never made Sentinel aware of any relevant dates or deadlines

        in the adversary proceeding or otherwise, (iii) discovery and dispositive motions deadlines in the

        adversary proceeding appear to have already passed, so arguing these documents are necessary at

        trial is specious and pretextual, and (iv) UBS intends to seek extensions of trial dates and all

        pending extension deadlines. It is UBS’s burden to establish cause here and it has not met its

        burden.

                   15.   Even if there were prejudice to UBS (there is not) that was not of its own making,

        Sentinel’s due process rights to protect its own privileged and confidential information is a right

        that deserves significant protection and deference. Id. at 788. That deference includes time to

        prepare adequately for a hearing on its protective order and respond to the allegations in UBS’s

        Objection to the Motion for Protective Order, including preparing a reply and providing

        declarations in support of the Motion for Protective Order. In addition, setting the hearing date

        toward the end of October, it may obviate the need for any hearing because Sentinel may be in a

        position to produce documents at that time, or, at the least, will have reviewed a substantial subset

        of the documents by then.

                   16.   Conversely, Sentinel will be significantly prejudiced if it cannot protect its interests

        and review documents containing its business information prior to production by Beecher.

        Allowing Sentinel the time to review the documents and prepare them for production is appropriate

        and this Court should deny UBS’ Motion for an Expedited Hearing.

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                   17.   Sentinel respectfully requests that the Court deny Plaintiffs’ Motion for an

        Expedited Hearing, and respectfully requests all equitable and just relief to which it is entitled.

        DATED: September 13, 2021                      Respectfully submitted by:

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                                          CERTIFICATE OF SERVICE

                I hereby certify that, on September 13, 2021, a true and correct copy of the foregoing
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